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                                                             DATE FILED: 11/17/2020
                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK

DONALD BERDEAUX and CHRISTINE
GRABLIS, individually and on behalf of all
others similarly situated,

                                Plaintiff,             C.A. No 1:19-cv-04074-VEC
 v.
                                                       Hon. Valerie E. Caproni
 ONECOIN LTD.; RUJA IGNATOVA;
 SEBASTIAN GREENWOOD; MARK                             CLASS ACTION
 SCOTT; DAVID PIKE; NICOLE J.
 HUESMANN; GILBERT ARMENTA; and
 THE BANK OF NEW YORK MELLON,

                                Defendants.

            [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION
      TO SERVE DEFENDANT SEBASTIAN GREENWOOD BY U.S. MARSHAL

       This matter is before the Court upon Lead Plaintiff Donald Berdeaux and Plaintiff Christine

Grablis’ (together, “Plaintiffs”) Motion serve Defendant Sebastian Greenwood by U.S. Marshal,

pursuant to Federal Rule of Civil Procedure 4(c)(3).

       IT IS HEREBY ORDERED that Plaintiffs’ Letter Motion is GRANTED. This Court

hereby orders as follows:

       (i) Plaintiffs’ request to serve Defendant Sebastian Greenwood by U.S. Marshal is

GRANTED.


                                         November 2020.
                           17th day of ____________,
       SO ORDERED on this _____

                                              _______________________________________
                                              HONORABLE VALERIE E. CAPRONI
                                              UNITED STATES DISTRICT COURT JUDGE
